                         Case 1-23-43643-jmm                Doc 1        Filed 10/06/23           Entered 10/06/23 15:02:02



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Showfields Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  c/o Showfields NY 2 LLC
                                  187 Kent Avenue, 1st Field                                      187 Kent Avenue, 1st Field
                                  Brooklyn, NY 11249                                              Brooklyn, NY 11249
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Showfields Inc.                                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4552

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                        Case 1-23-43643-jmm                          Doc 1         Filed 10/06/23           Entered 10/06/23 15:02:02

Debtor    Showfields Inc.                                                                                 Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




                                                                                                                                                          affiliate
     List all cases. If more than 1,                                                                                                                      anticipated
     attach a separate list                          Debtor      Showfields NY2 LLC                                            Relationship               filing
                                                                 Eastern District of
                                                     District    New York                     When      10/13/23               Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Showfields Inc.                                                            Case number (if known)
         Name




16. Estimated liabilities    $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Showfields Inc.                                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 6, 2023
                                                  MM / DD / YYYY


                             X /s/ Tal Zvi Nathanel                                                       Tal Zvi Nathanel
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X /s/ Rachel S. Blumenfeld                                                    Date October 6, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Rachel S. Blumenfeld
                                 Printed name

                                 Law Office of Rachel S. Blumenfeld PLLC
                                 Firm name

                                 26 Court Street
                                 Suite 2220
                                 Brooklyn, NY 11242
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     718-858-9600                  Email address      rachel@blumenfeldbankruptcy.com

                                 1458 NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Showfields Inc.

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       October 6, 2023                 X /s/ Tal Zvi Nathanel
                                                           Signature of individual signing on behalf of debtor

                                                            Tal Zvi Nathanel
                                                            Printed name

                                                            CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                      Case 1-23-43643-jmm                    Doc 1         Filed 10/06/23              Entered 10/06/23 15:02:02



 Fill in this information to identify the case:
 Debtor name Showfields Inc.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW                                                                             Check if this is an
                                                YORK
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 American Express                                    credit card                                                                                                 $25,462.00
 200 Vesey Street
 New York, NY 10285
 Amir Zwickel                                        unreimbursed                                                                                                $17,000.00
 349 Metropolitan                                    expenses
 Avenue
 Apt. 6A
 Brooklyn, NY 11211
 BDG-CPAs                                            CPA's - critical                                                                                            $12,000.00
 76 N. Walnut Street                                 vendors
 Ridgewood, NJ
 07450
 BeezB Ltd.                                          social media /                                                                                              $12,750.00
 Kefar Sava                                          professional
 4465101 Israel                                      services / critical
                                                     vendor
 Broad Prince Realty                                 landlord -          Subject to                                                                              $57,414.80
 Corp.                                               premises were       Setoff
 580 Broadway, Suite                                 vacated. landlord
 307                                                 has $10,000
 New York, NY 10012                                  security deposit.
 Gong.io Inc.                                        software company Contingent                                                                                 $26,000.00
 265 Cambridge Ave.                                  for sales team      Unliquidated
 Suite 60717                                                             Disputed
 Palo Alto, CA 94306
 Hanna Mitchell                                      wages                                                                                                       $10,000.00
 325 F St E
 Salt Lake City, UT
 84103-3057
 Jacqueline                                          wages                                                                                                       $10,000.00
 McNamara
 741 6th Street
 Apt. 102
 Miami Beach, FL
 33139




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                      Case 1-23-43643-jmm                    Doc 1         Filed 10/06/23              Entered 10/06/23 15:02:02




 Debtor    Showfields Inc.                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Johanna Yannello                                    wages                                                                                                         $9,575.75
 200 W 70th St.
 Apt 7K
 New York, NY
 10023-4327
 Martina Asgari-Majd                                 wages                                                                                                       $10,000.00
 60 S 8th St.
 Apt 535
 Brooklyn, NY
 11249-6154
 McDermott Will &                                    attorneys /                                                                                                 $60,474.00
 Emery                                               professional
 P.O. Box 6043                                       services
 Chicago, IL 60680
 Mesh Credit Card                                    credit card                                                                                                 $69,546.00
 225 West 35th Street
 New York, NY 10001
 Ori Cohen                                           1099 - critical                                                                                             $10,000.00
 Amos Oz 11                                          vendor
 Herzliya, Israel
 Pipe Technologies                                   revenue based             Contingent                                                                    $1,400,000.00
 Inc.                                                financing                 Unliquidated
 360 NW 27th Street                                                            Disputed
 Miami, FL 33127
 RTR Bag & Co.                                       shopping bags                                                                                               $39,381.00
 400 East 54th, Suite
 #10E
 New York, NY 10022
 Saul Ewing Arnstein                                 HR attorneys /                                                                                              $69,889.25
 & Lehr LLP                                          critical vendors
 1500 Market Street,
 38th Fl.
 Philadelphia, PA
 19102-2186
 Silicon Valley Bank                                 credit cards                                                                                              $103,088.00
 c/o First Citizens
 Bank
 239 Fayetteville
 Street
 Raleigh, NC 27601
 Small Business                                                                                            $515,823.24                        $0.00            $515,823.24
 Administration
 409 3rd St, SW
 Washington, DC
 20416
 SoftwareHut LLC                                     software                                                                                                    $51,742.00
 40 Exchange Place,                                  developer / critical
 Suite 1602                                          vendor
 New York, NY 10005




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                      Case 1-23-43643-jmm                    Doc 1         Filed 10/06/23              Entered 10/06/23 15:02:02




 Debtor    Showfields Inc.                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Tal Zvi Nathanel                                    unreimbursed                                                                                                $57,945.00
 250 West 85th St                                    company
 Apt. 3B                                             expenses
 New York, NY 10024




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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 Fill in this information to identify the case:

 Debtor name            Showfields Inc.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $              8,117.58

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $              8,117.58


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           515,823.24


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           106,723.15

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,103,264.15


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,725,810.54




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         Showfields Inc.

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                   Silicon Valley Bank. Acccount has a
          3.1.     current negative balance of $2,082.01.            Business Checking                     4663                                             $0.00




          3.2.     Valley Bank                                       Business Checking                     7800                                     $3,117.58



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $3,117.58
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor        Showfields Inc.                                                        Case number (If known)
              Name

Part 4:       Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                       Net book value of         Valuation method used   Current value of
                                                                     debtor's interest         for current value       debtor's interest
                                                                     (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           IP Trademark on" Showfields"; "The Most
           Interesting Store in the World"; "The Most
           Interesting_In The World"; and "The Most
           Interesting Store in the World".                                        $0.00                                          Unknown



61.        Internet domain names and websites

62.        Licenses, franchises, and royalties
Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                      page 2
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Debtor        Showfields Inc.                                                              Case number (If known)
              Name



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership
           United States Trademark for "THE MOST INTERESTING
           STORE IN THE WORLD".                                                                                                       Unknown




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 3
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Debtor      Showfields Inc.                                                         Case number (If known)
            Name

         Parent company of the following companies: (1)
         Showfields NY1 LLC (this company is expected to
         dissolve shortly); (2) FL1 LLC (this company is expected
         to dissolve shortly); (3) DC1 LLC - active, not expected
         to file for bankruptcy (owns 99% /investor owns 1%); (4)
         NY2 LLC (Brooklyn, entity will be filing bankruptcy); (5)
         Showfields Magic Box LLC (this company - a pop up - is
         expected to dissolve in approx 4 to 6 months when the
         short term lease in LA is completed).                                                                       Unknown



         leasehold improvements; intangible assets; computers;                                                       Unknown


         15 pedestals of different heights; 2 arched showcases;
         2 teared showcases; pastrty vitrine; room and board
         shelf; room and board table; tv frame; shelf structure
         cabinet health; simris light fixture; 6 misc chairs;
         commercial fridge; 2 armchairs; yogibo poufs; 3 moon
         lamps; metal structure; misc greenery; 2 leather chairs
         from the loft; misc props. location: Manhattan Mini
         Storage unit                                                                                                $5,000.00




78.      Total of Part 11.                                                                                          $5,000.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                      page 4
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Debtor          Showfields Inc.                                                                                     Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $3,117.58

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                    $5,000.00

91. Total. Add lines 80 through 90 for each column                                                                $8,117.58         + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                    $8,117.58




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 5
                        Case 1-23-43643-jmm                      Doc 1         Filed 10/06/23             Entered 10/06/23 15:02:02


Fill in this information to identify the case:

Debtor name         Showfields Inc.

United States Bankruptcy Court for the:           EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   AJ Equity Group LLC                          Describe debtor's property that is subject to a lien                     Unknown                       $0.00
      Creditor's Name                              FOR NOTICE PURPOSES - MCA
      1648 61st Street
      Brooklyn, NY 11204
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative
      priority.                                       Disputed




      CFG Merchant Solutions,
2.2                                                                                                                         Unknown                       $0.00
      LLC                                          Describe debtor's property that is subject to a lien
      Creditor's Name                              MCA
      180 Maiden Lane, 15th
      Floor
      New York, NY 10038
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 4
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Debtor      Showfields Inc.                                                                       Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.3   Dynasty Capital 26, LLC                     Describe debtor's property that is subject to a lien                     Unknown    $0.00
      Creditor's Name                             MCA
      700 Canal St. 1st Floor
      Stamford, CT 06902
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




      Kalamata Capital Group,
2.4                                                                                                                        Unknown    $0.00
      LLC                                         Describe debtor's property that is subject to a lien
      Creditor's Name                             MCA
      80 State Street
      Albany, NY 12207
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.5   OnDeck                                      Describe debtor's property that is subject to a lien                        $0.00   $0.00
      Creditor's Name                             MCA
      4700 W. Daybreak Pkwy
      Suite 200
      South Jordan, UT 84009
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                    page 2 of 4
                        Case 1-23-43643-jmm                     Doc 1         Filed 10/06/23             Entered 10/06/23 15:02:02


Debtor      Showfields Inc.                                                                       Case number (if known)
            Name

      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.6   Rocket Capital NY LLC                       Describe debtor's property that is subject to a lien                       Unknown     $0.00
      Creditor's Name                             MCA
      1250 E. Hallandale Beach
      Blvd.
      Suite 505
      Hallandale, FL 33009
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




      Small Business
2.7                                                                                                                        $515,823.24   $0.00
      Administration                              Describe debtor's property that is subject to a lien
      Creditor's Name

      409 3rd St, SW
      Washington, DC 20416
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      3/22/22                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7403
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                       page 3 of 4
                   Case 1-23-43643-jmm                      Doc 1         Filed 10/06/23              Entered 10/06/23 15:02:02


Debtor      Showfields Inc.                                                                    Case number (if known)
            Name

3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $515,823.24

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                              page 4 of 4
                       Case 1-23-43643-jmm                     Doc 1          Filed 10/06/23                    Entered 10/06/23 15:02:02


Fill in this information to identify the case:

Debtor name        Showfields Inc.

United States Bankruptcy Court for the:         EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $1,249.46         $1,249.46
          Agnia Ivanov                                        Check all that apply.
          1 Valley View Ct                                       Contingent
          Huntington, NY 11743-5020                              Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              wages
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $1,228.39         $1,228.39
          Christine Bullock                                   Check all that apply.
          28 Burlington Path Rd                                  Contingent
          Cream Ridge, NJ 08514-2003                             Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              wages
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 14
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Debtor      Showfields Inc.                                                                          Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,377.00   $1,377.00
         Constance Blatt                                    Check all that apply.
         10 Downing St                                         Contingent
         Apt. 5G                                               Unliquidated
         New York, NY 10014-4792                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,443.75   $2,443.75
         Emily Goldberg                                     Check all that apply.
         1348 Beech Street                                     Contingent
         Atlantic Beach, NY 11509                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,013.28   $3,013.28
         Frances Shellman                                   Check all that apply.
         137 W 82nd St, Apt. 1A                                Contingent
         New York, NY 10024-5545                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,680.88   $6,680.88
         Gabrielle Gangi                                    Check all that apply.
         23 Egret Way                                          Contingent
         Center Moriches, NY 11934-3028                        Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 2 of 14
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Debtor      Showfields Inc.                                                                          Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $10,000.00   $10,000.00
         Hanna Mitchell                                     Check all that apply.
         325 F St E                                            Contingent
         Salt Lake City, UT 84103-3057                         Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                          $0.00   $0.00
         Internal Revenue Service                           Check all that apply.
         US Dept of Treasury                                   Contingent
         Philadelphia, PA 19255-1498                           Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            FOR NOTICE PURPOSES ONLY
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $10,000.00   $10,000.00
         Jacqueline McNamara                                Check all that apply.
         741 6th Street                                        Contingent
         Apt. 102                                              Unliquidated
         Miami Beach, FL 33139                                 Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $6,407.33   $6,407.33
         Jenna Lichtman                                     Check all that apply.
         210 East 85th Street                                  Contingent
         New York, NY 10028                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 3 of 14
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Debtor      Showfields Inc.                                                                          Case number (if known)
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $9,575.75   $9,575.75
         Johanna Yannello                                   Check all that apply.
         200 W 70th St.                                        Contingent
         Apt 7K                                                Unliquidated
         New York, NY 10023-4327                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $9,104.93   $9,104.93
         Jonathan Schenirer - Dir PM                        Check all that apply.
         167 Madison Avenue                                    Contingent
         Ste 205 #107                                          Unliquidated
         New York, NY 10016                                    Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $4,862.07   $4,862.07
         Kara Walsh                                         Check all that apply.
         310 1st Ave, Apt. 1E                                  Contingent
         New York, NY 10009-1703                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $10,000.00   $10,000.00
         Martina Asgari-Majd                                Check all that apply.
         60 S 8th St.                                          Contingent
         Apt 535                                               Unliquidated
         Brooklyn, NY 11249-6154                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 4 of 14
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Debtor      Showfields Inc.                                                                          Case number (if known)
            Name

2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     $0.00
         New York State                                     Check all that apply.
         Queens Borough Hall                                   Contingent
         120-55 Queens Boulevard                               Unliquidated
         Jamaica, NY 11424                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            FOR NOTICE PURPOSES ONLY
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     $0.00
         NYC Dept. of Finance                               Check all that apply.
         66 John Street, Room 104                              Contingent
         New York, NY 10038                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            FOR NOTICE PURPOSES ONLY
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown     $0.00
         NYC Dept. of Finance                               Check all that apply.
         59 Maiden Lane                                        Contingent
         New York, NY 10038                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            FOR NOTICE PURPOSES ONLY
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,921.88   $2,921.88
         Riley Roche                                        Check all that apply.
         500 Brickell Ave                                      Contingent
         Apt 2008                                              Unliquidated
         Miami, FL 33131                                       Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 5 of 14
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Debtor      Showfields Inc.                                                                          Case number (if known)
            Name

2.19     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,300.50   $1,300.50
         Romi Bachar                                        Check all that apply.
         301 E 79th St Apt 18C                                 Contingent
         New York, NY 10075-0940                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.20     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $7,756.25   $7,756.25
         Samantha Benvegna                                  Check all that apply.
         401 2nd Ave, Apt 9C                                   Contingent
         New York, NY 10010-3912                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.21     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,473.78   $2,473.78
         Sharit Kassab                                      Check all that apply.
         9801 Collins Ave                                      Contingent
         Miami Beach, FL 33154                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.22     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $8,861.56   $8,861.56
         Sophy Bohbot                                       Check all that apply.
         1621 S Treasure Dr                                    Contingent
         North Bay Village, FL 33141-4128                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor        Showfields Inc.                                                                            Case number (if known)
              Name

2.23       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $1,327.70   $1,327.70
           Ty'Arrah Walker                                      Check all that apply.
           770 Maine Ave SW                                        Contingent
           Apt. 305                                                Unliquidated
           Washington, DC 20024-2589                               Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                wages
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes


2.24       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                        $909.43    $909.43
           Valentina Diaz                                       Check all that apply.
           1865 Brickell Ave                                       Contingent
           Apt 1608                                                Unliquidated
           Miami, FL 33129-1621                                    Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                wages
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes


2.25       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $5,229.21   $5,229.21
           Vane Libos                                           Check all that apply.
           2200 Sole Mia Square Ln                                 Contingent
           Apt 615                                                 Unliquidated
           North Miami, FL 33181-1261                              Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                wages
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $8,580.00
          24 Seven LLC                                                            Contingent
          105 Maxess Road, Suite N201                                             Unliquidated
          Melville, NY 11747                                                      Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: goods & services
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                 $5,239.00
          Amazon Web Services Inc.                                                Contingent
          2121 7th Avenue                                                         Unliquidated
          Seattle, WA 98121                                                       Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: goods & services
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes



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Debtor      Showfields Inc.                                                                 Case number (if known)
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $25,462.00
         American Express                                             Contingent
         200 Vesey Street                                             Unliquidated
         New York, NY 10285                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: credit card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,955.00
         Aminov Eshel and Partners LLP                                Contingent
         350 Motor Parkway                                            Unliquidated
         Hauppauge, NY 11788                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: accounting firm / critical vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $17,000.00
         Amir Zwickel                                                 Contingent
         349 Metropolitan Avenue                                      Unliquidated
         Apt. 6A                                                      Disputed
         Brooklyn, NY 11211
                                                                   Basis for the claim: unreimbursed expenses
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,750.00
         Avidxchange, Inc.                                            Contingent
         P.O. Box 715376                                              Unliquidated
         Cincinnati, OH 45271-5376                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: accounting software/professional services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,947.91
         Avidxchnage                                                  Contingent
         PO Box 715376                                                Unliquidated
         Cincinnati, OH 45271-5376                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: software
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $12,000.00
         BDG-CPAs                                                     Contingent
         76 N. Walnut Street                                          Unliquidated
         Ridgewood, NJ 07450                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: CPA's - critical vendors
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $12,750.00
         BeezB Ltd.                                                   Contingent
         Kefar Sava                                                   Unliquidated
         4465101 Israel                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: social media / professional services / critical vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Showfields Inc.                                                                 Case number (if known)
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,000.00
         BFA NYC LLC                                                  Contingent
         20 W. 20th Street Suite 700                                  Unliquidated
         New York, NY 10011                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: marketing company
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $57,414.80
         Broad Prince Realty Corp.                                    Contingent
         580 Broadway, Suite 307                                      Unliquidated
         New York, NY 10012                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: landlord - premises were vacated.                landlord has
         Last 4 digits of account number                           $10,000 security deposit.
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $200.00
         Calvin Jazz Walker                                           Contingent
         4439 Crested Butte Ct.                                       Unliquidated
         Jacksonville, FL 32210                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: marketing vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $560.00
         Cision US Inc                                                Contingent
         300 S Riverside Plz                                          Unliquidated
         Chicago, IL 60606                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: professional services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,500.00
         Dan Klores Communication LLC                                 Contingent
         261 Fifth Ave., 3rd Floor                                    Unliquidated
         New York, NY 10016                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: PR agency
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,994.64
         DocuSign                                                     Contingent
         221 Main Street, Suite 1000                                  Unliquidated
         San Francisco, CA 94105                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: goods & services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,000.00
         Doreen Edri                                                  Contingent
         20355 NE 34 Ct.                                              Unliquidated
         Aventura, FL 33180                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: 1099 vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Showfields Inc.                                                                 Case number (if known)
            Name

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $26,000.00
         Gong.io Inc.                                                 Contingent
         265 Cambridge Ave. Suite 60717
                                                                      Unliquidated
         Palo Alto, CA 94306
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: software company for sales team

                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,617.00
         HubSpot Inc                                                  Contingent
         2 Canal Park                                                 Unliquidated
         Cambridge, MA 02141                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: software marketing
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $356.00
         Intercom.io                                                  Contingent
         55 2nd Street, 4th Floor                                     Unliquidated
         San Francisco, CA 94105                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: software
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,500.00
         Jefferson G. Wenzel                                          Contingent
         19 Dutch Street                                              Unliquidated
         New York, NY 10038                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: software / IT
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,500.00
         Laura Kluthe Executive Search                                Contingent
         20 Esmond Place                                              Unliquidated
         Tenafly, NJ 07670                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: recruiting company
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,439.99
         Manhattan Mini Storage                                       Contingent
         220 South Street                                             Unliquidated
         New York, NY 10002                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: storage facility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $60,474.00
         McDermott Will & Emery                                       Contingent
         P.O. Box 6043                                                Unliquidated
         Chicago, IL 60680                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: attorneys / professional services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Showfields Inc.                                                                 Case number (if known)
            Name

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $69,546.00
         Mesh Credit Card                                             Contingent
         225 West 35th Street                                         Unliquidated
         New York, NY 10001                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: credit card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,500.00
         Mor Edri                                                     Contingent
         32 Rutgers St.                                               Unliquidated
         Closter, NJ 07624                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: former employee
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $4,420.00
         Noho Bid                                                     Contingent
         636 Broadway, Suite 1208                                     Unliquidated
         New York, NY 10012                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Noho Bid                                                     Contingent
         636 Broadway Ste 1208
                                                                      Unliquidated
         New York, NY 10012
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $10,000.00
         Ori Cohen                                                    Contingent
         Amos Oz 11                                                   Unliquidated
         Herzliya, Israel                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: 1099 - critical vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,400,000.00
         Pipe Technologies Inc.                                       Contingent
         360 NW 27th Street
                                                                      Unliquidated
         Miami, FL 33127
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: revenue based financing

                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $648.00
         Profitian Finance NZ Ltd.                                    Contingent
         3 Hamatechet                                                 Unliquidated
         Kadima Tzoran                                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: finance company /professional services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Showfields Inc.                                                                 Case number (if known)
            Name

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $79.56
         Read Fresh by Nestle                                         Contingent
         PO Box 856680                                                Unliquidated
         Louisville, KY 40285                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: food services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $39,381.00
         RTR Bag & Co.                                                Contingent
         400 East 54th, Suite #10E                                    Unliquidated
         New York, NY 10022                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: shopping bags
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $69,889.25
         Saul Ewing Arnstein & Lehr LLP                               Contingent
         1500 Market Street, 38th Fl.                                 Unliquidated
         Philadelphia, PA 19102-2186                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: HR attorneys / critical vendors
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $6,982.00
         Sendtowin LLC                                                Contingent
         9639 Savona Winds Drive                                      Unliquidated
         Delray Beach, FL 33446                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: critical vendor / professional services for sales team
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $103,088.00
         Silicon Valley Bank                                          Contingent
         c/o First Citizens Bank                                      Unliquidated
         239 Fayetteville Street                                      Disputed
         Raleigh, NC 27601
                                                                   Basis for the claim: credit cards
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $51,742.00
         SoftwareHut LLC                                              Contingent
         40 Exchange Place, Suite 1602                                Unliquidated
         New York, NY 10005                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: software developer / critical vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,062.50
         Spacio Terreno Inc.                                          Contingent
         146 Pelton Avenue                                            Unliquidated
         Staten Island, NY 10310                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: critical vendor - professional services - build out/
         Last 4 digits of account number                           fabrication / vinyls / contractors
                                                                   Is the claim subject to offset?     No       Yes




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Debtor       Showfields Inc.                                                                        Case number (if known)
             Name

3.38      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          St. Moritz Security Services                                         Contingent
          4600 Clairton Blvd.                                                 Unliquidated
          Pittsburgh, PA 15236
                                                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.39      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          Studio 96 NYC Incorporated                                          Contingent
          32 W. 39th Street, Fl. 4                                            Unliquidated
          New York, NY 10018                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: advertising
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.40      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $57,945.00
          Tal Zvi Nathanel                                                    Contingent
          250 West 85th St                                                    Unliquidated
          Apt. 3B                                                             Disputed
          New York, NY 10024
                                                                           Basis for the claim: unreimbursed company expenses
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.41      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,963.00
          Talentpop                                                           Contingent
          1954 Placentia Ave                                                  Unliquidated
          Costa Mesa, CA 92627                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: software IT
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.42      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          The Law Offices of Steven                                            Contingent
          Zakharyayev, LLC
                                                                               Unliquidated
          10 W 37th St., 6th Floor
          New York, NY 10018                                                   Disputed

          Date(s) debt was incurred                                        Basis for the claim: FOR NOTICE PURPOSES RE AJ EQUITY GROUP
          Last 4 digits of account number                                  LLC
                                                                           Is the claim subject to offset?     No       Yes

3.43      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,777.50
          Warren Kalyan & Mattocks                                            Contingent
          506 W 14th St A                                                     Unliquidated
          Austin, TX 78701                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: liquor license attorneys /professional services
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

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Debtor      Showfields Inc.                                                             Case number (if known)
            Name


5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                              5a.       $                    106,723.15
5b. Total claims from Part 2                                                              5b.   +   $                  2,103,264.15

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.       $                    2,209,987.30




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Fill in this information to identify the case:

Debtor name       Showfields Inc.

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Showfields Inc.

United States Bankruptcy Court for the:   EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Tal Zvi Nathanel            250 West 85th St                                                                             D
                                      Apt. 3B                                                                                      E/F
                                      New York, NY 10024                                                                           G
                                      personal guarantee for: American
                                      Express; SBA loan; MCAs - company
                                      signed an indemnificaiton on each debt.




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Showfields Inc.

United States Bankruptcy Court for the:    EASTERN DISTRICT OF NEW YORK

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                  $2,707.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $2,028,210.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                               $641,643.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




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Debtor       Showfields Inc.                                                                    Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              EXHIBITS TO BE SUBMITTED                                                                     $0.00              Secured debt
                                                                                                                              Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                           Other payroll; critical vendors
                                                                                                                         and other goods & services


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    EXHIBITS TO BE SUBMITTED                                                                     $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                  Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                  Status of case
              Case number                                                          address
      7.1.    Kalamata Capital Group, LLC              breach of contract          Supreme Court of teh State                      Pending
              v. Showfields NY 1 LLC dba                                           of New York                                     On appeal
              Showfields; Showfields Inc;                                          County of New York
                                                                                                                                   Concluded
              Showfields, Inc., et al
              155729/2023

      7.2.    AJ Equity Group LLC v.                   convession of               Supreme Court of the State                      Pending
              Showfields NY 1 LLC; et al               judgment                    of New York                                     On appeal
                                                                                   County of New York                              Concluded




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Debtor        Showfields Inc.                                                                    Case number (if known)



               Case title                             Nature of case               Court or agency's name and                 Status of case
               Case number                                                         address
      7.3.     Thomas Olsen v. Showfields             non accessibility            Eastern District of New                       Pending
               Inc.                                   per WCAG 2.0                 York                                          On appeal
                                                      accessibility                District Court
                                                                                                                                 Concluded
                                                      standards


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

               Recipient's name and address           Description of the gifts or contributions                  Dates given                            Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss               Value of property
      how the loss occurred                                                                                                                               lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received            If not money, describe any property transferred               Dates                    Total amount or
                the transfer?                                                                                                                           value
                Address
      11.1.     Law Office of Rachel S.
                Blumenfeld PLLC
                26 Court Street
                Suite 2220                              $20,000 (plus $1,738.00 filing fee). Total
                Brooklyn, NY 11242                      $21,738.00                                                    10/3/2023                   $21,738.00

                Email or website address
                rachel@blumenfeldbankruptcy.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
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Debtor        Showfields Inc.                                                                    Case number (if known)



    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     636 Broadway                                                                                        2019 through 2021
                Room 520
                New York, NY 10012

      14.2.     580 Broadway                                                                                        Feb 2022 through August 2023
                Suite 906
                New York, NY 10012

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
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Debtor      Showfields Inc.                                                                      Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Manhattan Minim Storage                                not applicable                        inventory; office supplies &                   No
      220 South Street                                                                             equipment: 15 pedestals of                     Yes
      New York, NY 10002                                                                           different heights; 2 arched
                                                                                                   showcases; 2 teared
                                                                                                   showcases; pastrty vitrine;
                                                                                                   room and board shelf; room
                                                                                                   and board table; tv frame;
                                                                                                   shelf structure cabinet health;
                                                                                                   simris light fixture; 6 misc
                                                                                                   chairs; commercial fridge; 2
                                                                                                   armchairs; yogibo poufs; 3
                                                                                                   moon lamps; metal structure;
                                                                                                   misc greenery; 2 leather
                                                                                                   chairs from the loft; misc
                                                                                                   props. Approx value $5,000
                                                                                                   to $7,000.



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).


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     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.    Showfields FL 1 LLC                      same nature of business as other                  EIN:         XX-XXXXXXX
            530 Lincoln Rd                           entities
            Miami Beach, FL 33139                                                                      From-To      1/14/2020. Business expected to
                                                                                                                    dissolve shortly

   25.2.    Showfields DC 1 LLC                      same nature of business as other                  EIN:         XX-XXXXXXX
            3077 M St.                               entities
            Washington, DC 20007                                                                       From-To      5/2/2022. Active not expected to
                                                                                                                    file for bankruptcy

   25.3.    Showfields NY 2 LLC                      same as other businesses                          EIN:         XX-XXXXXXX
            187 Kent Avenue
            Brooklyn, NY 11249                                                                         From-To      11/11/2021

   25.4.    Showfields Magic Box LLC                 same as other entities                            EIN:         XX-XXXXXXX
            10250 Santa Monica Blvd
            Los Angeles, CA 90067                                                                      From-To      3/3/2021. Company is expected to
                                                                                                                    dissolve in 4 to 6 months



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Debtor      Showfields Inc.                                                                     Case number (if known)



   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.5.    Showfields NY 1 LLC                      same as other entities                            EIN:         XX-XXXXXXX
            11 Bond Street
            New York, NY 10012                                                                         From-To      4/24/2018


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Aminov Eshel and Partners LLP
                    350 Motor Parkway
                    Hauppauge, NY 11788

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Mazars USA LLP                                                                                                     2020/2021
                    135 West 50th Street
                    New York, NY 10020

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory         The dollar amount and basis (cost, market,
               inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      EXHIBITS TO BE
      SUBMITTED



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
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Debtor      Showfields Inc.                                                                    Case number (if known)




           No
           Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Alex Brick                             125 East 84th Street                                                                   from inception
                                             Apt. 8B                                                                                until 3 months
                                             New York, NY 10028                                                                     ago

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Amir Zwickel
      .    349 Metropolitan Avenue
             Apt. 6A                                                                                            1 year
             Brooklyn, NY 11211                       $167,517.07                                               pre-petition        payroll

             Relationship to debtor
             CRO


      30.2 Tal Zvi Nathanel
      .    250 West 85th St
             Apt. 3B                                                                                            1 year
             New York, NY 10024                       $167,517.07                                               prepetition         payrolll

             Relationship to debtor
             CEO


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Debtor      Showfields Inc.                                                                     Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         October 6, 2023

/s/ Tal Zvi Nathanel                                            Tal Zvi Nathanel
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Eastern District of New York
 In re       Showfields Inc.                                                                                  Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 20,000.00
             Prior to the filing of this statement I have received                                        $                 20,000.00
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     October 6, 2023                                                          /s/ Rachel S. Blumenfeld
     Date                                                                     Rachel S. Blumenfeld
                                                                              Signature of Attorney
                                                                              Law Office of Rachel S. Blumenfeld PLLC
                                                                              26 Court Street
                                                                              Suite 2220
                                                                              Brooklyn, NY 11242
                                                                              718-858-9600
                                                                              rachel@blumenfeldbankruptcy.com
                                                                              Name of law firm
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                                                      United States Bankruptcy Court
                                                             Eastern District of New York
 In re    Showfields Inc.                                                                                         Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder

-NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date October 6, 2023                                                     Signature /s/ Tal Zvi Nathanel
                                                                                        Tal Zvi Nathanel

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                      United States Bankruptcy Court
                                           Eastern District of New York
 In re    Showfields Inc.                                                       Case No.
                                                         Debtor(s)              Chapter    11




                            VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




Date:     October 6, 2023                     /s/ Tal Zvi Nathanel
                                              Tal Zvi Nathanel/CEO
                                              Signer/Title

Date: October 6, 2023                         /s/ Rachel S. Blumenfeld
                                              Signature of Attorney
                                              Rachel S. Blumenfeld
                                              Law Office of Rachel S. Blumenfeld PLLC
                                              26 Court Street
                                              Suite 2220
                                              Brooklyn, NY 11242
                                              718-858-9600




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                   24 Seven LLC
                   105 Maxess Road, Suite N201
                   Melville, NY 11747


                   Agnia Ivanov
                   1 Valley View Ct
                   Huntington, NY 11743-5020


                   AJ Equity Group LLC
                   1648 61st Street
                   Brooklyn, NY 11204


                   Amazon Web Services Inc.
                   2121 7th Avenue
                   Seattle, WA 98121


                   American Express
                   200 Vesey Street
                   New York, NY 10285


                   Aminov Eshel and Partners LLP
                   350 Motor Parkway
                   Hauppauge, NY 11788


                   Amir Zwickel
                   349 Metropolitan Avenue
                   Apt. 6A
                   Brooklyn, NY 11211


                   Avidxchange, Inc.
                   P.O. Box 715376
                   Cincinnati, OH 45271-5376


                   Avidxchnage
                   PO Box 715376
                   Cincinnati, OH 45271-5376


                   BDG-CPAs
                   76 N. Walnut Street
                   Ridgewood, NJ 07450


                   BeezB Ltd.
                   Kefar Sava
                   4465101 Israel
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               BFA NYC LLC
               20 W. 20th Street Suite 700
               New York, NY 10011


               Broad Prince Realty Corp.
               580 Broadway, Suite 307
               New York, NY 10012


               Calvin Jazz Walker
               4439 Crested Butte Ct.
               Jacksonville, FL 32210


               CFG Merchant Solutions, LLC
               180 Maiden Lane, 15th Floor
               New York, NY 10038


               Christine Bullock
               28 Burlington Path Rd
               Cream Ridge, NJ 08514-2003


               Cision US Inc
               300 S Riverside Plz
               Chicago, IL 60606


               Constance Blatt
               10 Downing St
               Apt. 5G
               New York, NY 10014-4792


               Dan Klores Communication LLC
               261 Fifth Ave., 3rd Floor
               New York, NY 10016


               DocuSign
               221 Main Street, Suite 1000
               San Francisco, CA 94105


               Doreen Edri
               20355 NE 34 Ct.
               Aventura, FL 33180


               Dynasty Capital 26, LLC
               700 Canal St. 1st Floor
               Stamford, CT 06902
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               Emily Goldberg
               1348 Beech Street
               Atlantic Beach, NY 11509


               Frances Shellman
               137 W 82nd St, Apt. 1A
               New York, NY 10024-5545


               Gabrielle Gangi
               23 Egret Way
               Center Moriches, NY 11934-3028


               Gong.io Inc.
               265 Cambridge Ave. Suite 60717
               Palo Alto, CA 94306


               Hanna Mitchell
               325 F St E
               Salt Lake City, UT 84103-3057


               HubSpot Inc
               2 Canal Park
               Cambridge, MA 02141


               Intercom.io
               55 2nd Street, 4th Floor
               San Francisco, CA 94105


               Internal Revenue Service
               US Dept of Treasury
               Philadelphia, PA 19255-1498


               Jacqueline McNamara
               741 6th Street
               Apt. 102
               Miami Beach, FL 33139


               Jefferson G. Wenzel
               19 Dutch Street
               New York, NY 10038


               Jenna Lichtman
               210 East 85th Street
               New York, NY 10028
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               Johanna Yannello
               200 W 70th St.
               Apt 7K
               New York, NY 10023-4327


               Jonathan Schenirer - Dir PM
               167 Madison Avenue
               Ste 205 #107
               New York, NY 10016


               Kalamata Capital Group, LLC
               80 State Street
               Albany, NY 12207


               Kara Walsh
               310 1st Ave, Apt. 1E
               New York, NY 10009-1703


               Laura Kluthe Executive Search
               20 Esmond Place
               Tenafly, NJ 07670


               Manhattan Mini Storage
               220 South Street
               New York, NY 10002


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               Apt 535
               Brooklyn, NY 11249-6154


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               P.O. Box 6043
               Chicago, IL 60680


               Mesh Credit Card
               225 West 35th Street
               New York, NY 10001


               Mor Edri
               32 Rutgers St.
               Closter, NJ 07624
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               New York State
               Queens Borough Hall
               120-55 Queens Boulevard
               Jamaica, NY 11424


               Noho Bid
               636 Broadway, Suite 1208
               New York, NY 10012


               Noho Bid
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               New York, NY 10012


               NYC Dept. of Finance
               66 John Street, Room 104
               New York, NY 10038


               NYC Dept. of Finance
               59 Maiden Lane
               New York, NY 10038


               OnDeck
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               Suite 200
               South Jordan, UT 84009


               Ori Cohen
               Amos Oz 11
               Herzliya, Israel


               Pipe Technologies Inc.
               360 NW 27th Street
               Miami, FL 33127


               Profitian Finance NZ Ltd.
               3 Hamatechet
               Kadima Tzoran


               Read Fresh by Nestle
               PO Box 856680
               Louisville, KY 40285
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               Apt 2008
               Miami, FL 33131


               Rocket Capital NY LLC
               1250 E. Hallandale Beach Blvd.
               Suite 505
               Hallandale, FL 33009


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               New York, NY 10075-0940


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               New York, NY 10010-3912


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               Philadelphia, PA 19102-2186


               Sendtowin LLC
               9639 Savona Winds Drive
               Delray Beach, FL 33446


               Sharit Kassab
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               Miami Beach, FL 33154


               Silicon Valley Bank
               c/o First Citizens Bank
               239 Fayetteville Street
               Raleigh, NC 27601


               Small Business Administration
               409 3rd St, SW
               Washington, DC 20416
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               SoftwareHut LLC
               40 Exchange Place, Suite 1602
               New York, NY 10005


               Sophy Bohbot
               1621 S Treasure Dr
               North Bay Village, FL 33141-4128


               Spacio Terreno Inc.
               146 Pelton Avenue
               Staten Island, NY 10310


               St. Moritz Security Services
               4600 Clairton Blvd.
               Pittsburgh, PA 15236


               Studio 96 NYC Incorporated
               32 W. 39th Street, Fl. 4
               New York, NY 10018


               Tal Zvi Nathanel
               250 West 85th St
               Apt. 3B
               New York, NY 10024


               Tal Zvi Nathanel
               250 West 85th St
               Apt. 3B
               New York, NY 10024


               Talentpop
               1954 Placentia Ave
               Costa Mesa, CA 92627


               The Law Offices of Steven
               Zakharyayev, LLC
               10 W 37th St., 6th Floor
               New York, NY 10018


               Ty'Arrah Walker
               770 Maine Ave SW
               Apt. 305
               Washington, DC 20024-2589
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               Valentina Diaz
               1865 Brickell Ave
               Apt 1608
               Miami, FL 33129-1621


               Vane Libos
               2200 Sole Mia Square Ln
               Apt 615
               North Miami, FL 33181-1261


               Warren Kalyan & Mattocks
               506 W 14th St A
               Austin, TX 78701
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                                         United States Bankruptcy Court
                                              Eastern District of New York
 In re   Showfields Inc.                                                              Case No.
                                                             Debtor(s)                Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Showfields Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




October 6, 2023                                 /s/ Rachel S. Blumenfeld
Date                                            Rachel S. Blumenfeld
                                                Signature of Attorney or Litigant
                                                Counsel for Showfields Inc.
                                                Law Office of Rachel S. Blumenfeld PLLC
                                                26 Court Street
                                                Suite 2220
                                                Brooklyn, NY 11242
                                                718-858-9600
                                                rachel@blumenfeldbankruptcy.com
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                                         UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF NEW YORK


                                          STATEMENT PURSUANT TO LOCAL
                                            BANKRUPTCY RULE 1073-2(b)
 DEBTOR(S):           Showfields Inc.                                                  CASE NO.:.
        Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure
concerning Related Cases, to the petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR 1073-1 and E.D.N.Y. LBR 1073-2 if the earlier case
was pending at any time within eight years before the filing of the new petition, and the debtors in such cases: (i) are the same; (ii) are
spouses or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a
partnership and one or more of its general partners; (vi) are partnerships which share one or more common general partners; or (vii)
have, or within 180 days of the commencement of either of the Related Cases had, an interest in property that was or is included in the
property of another estate under 11 U.S.C. § 541(a).]

   NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.

   THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:



1. CASE NO.:            JUDGE:            DISTRICT/DIVISION: Eastern District of New York

DEBTOR NAME: Showfields NY2 LLC

CASE STILL PENDING (Y/N):            Y                 [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):                         affiliate anticipated filing

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


2. CASE NO.:            JUDGE:            DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                              [If closed] Date of closing:

CURRENT STATUS OF RELATED CASE:
                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


3. CASE NO.:            JUDGE:            DISTRICT/DIVISION:

CASE STILL PENDING (Y/N):                              [If closed] Date of closing:




                                                                 (OVER)
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DISCLOSURE OF RELATED CASES (cont'd)

CURRENT STATUS OF RELATED CASE:
                                                          (Discharged/awaiting discharge, confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE above):

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL PROPERTY") WHICH WAS ALSO LISTED IN
SCHEDULE "A" OF RELATED CASE:


NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.


TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):     Y


CERTIFICATION (to be signed by pro se debtor/petitioner or debtor/petitioner's attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case now pending or pending at any time, except
as indicated elsewhere on this form.


/s/ Rachel S. Blumenfeld
Rachel S. Blumenfeld
Signature of Debtor's Attorney                                            Signature of Pro Se Debtor/Petitioner
Law Office of Rachel S. Blumenfeld PLLC
26 Court Street
Suite 2220
Brooklyn, NY 11242                                                        Signature of Pro Se Joint Debtor/Petitioner
718-858-9600

                                                                          Mailing Address of Debtor/Petitioner


                                                                          City, State, Zip Code


                                                                           Area Code and Telephone Number
Failure to fully and truthfully provide all information required by the E.D.N.Y. LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or the
dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.




USBC-17                                                                                              Rev.8/11/2009
